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Exhibit A       Defendants’ Responses to Plaintiff’s First Set of Discovery
                Requests

Exhibit B       October 18, 2017 Email

Exhibit C       Beth Kirshner Deposition Excerpts

Exhibit D       Robert Chuchran Deposition Excerpts

Exhibit E       James Langtry Deposition Excerpts

Exhibit F       Elizabeth Canfield Deposition Excerpts

Exhibit G       Craig Keith Deposition Excerpts

Exhibit H       Byron Satterly Deposition Excerpts

Exhibit I       Michael Torey Deposition Excerpts
